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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

Jordella Robinson, individually and as a
representative of a class of similarly situated
borrowers,                                              Civil Action No. 2:15-cv-04123

                            Plaintiff,                  Division: “C-2”

v.                                                      District Judge: Hon. Helen G.
                                                        Berrigan
Standard Mortgage Corporation and
Standard Mortgage Insurance Agency, Inc.,               Magistrate Judge: Hon. Joseph C.
                                                        Wilkinson, Jr.
                            Defendants.




     PLAINTIFF’S MOTION TO FILE AMENDED COMPLAINT AS A MATTER OF
           COURSE, OR IN THE ALTERNATIVE, PLAINTIFF’S MOTION
                FOR LEAVE TO FILE AN AMENDED COMPLAINT

       Plaintiff respectfully moves the Court to allow Plaintiff to file her Amended Complaint as

a matter of course under Federal Rule of Civil Procedure 15(a). In the alternative, Plaintiff

moves for leave to re-file her Amended Complaint. The grounds for this motion are set forth in

the accompanying Memorandum of Law in Support.

       Pursuant to Local Civil Rule 7.6, counsel for Defendants have been contacted and have

indicated that Defendants will oppose this motion.

Dated: December 10, 2015                      Respectfully submitted,

                                              SQUITIERI & FEARON, LLP


                                              By: /s/ Thomas G. O’Brien
                                              Thomas G. O’Brien (admitted pro hac vice)
                                              Stephen J. Fearon, Jr. (admitted pro hac vice)
                                              Raymond N. Barto (admitted pro hac vice)
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                             Counsel for Plaintiff and the Proposed Class




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 10th day of December, 2015, a copy of the foregoing

was filed with the Clerk of the Court using the CM/ECF system. Notice of this filing will be

sent to all counsel of record registered to receive electronic service by operation of the Court’s

electronic filing system.



                                              By: /s/ Thomas G. O’Brien
                                                      Thomas G. O’Brien




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